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                                                                                                            ELECTRONICALLY FILED
                                                                                                                  Pulaski County Circuit Court
                                                                                                            Terri Hollingsworth, Circuit/County Clerk
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                    COURT    USE   ONLY   PURSUANT   TO   ARK.   SUP.   CT.   ADMIN.   ORDER   NO.   2(8)
              *********************************************************
        IN THE CIBCUIT COURT OF PULASKI COUNTY, ARKANSAS
 ARKANSAS VOTER INTEGRITY          PLAINTIFF
 INITIATIVE, INC., CONRAD
 REYNOLDS, and DONNIE
 SCROGGINS
                       vs.
 JOHN THURSTON, in his official
 capacity as SECRETARY OF
 STATE, the STATE BOARD OF
 ELECTION COMMISSIONERS, in                                 DEFENDANTS
 its    official   capacity,  and
 ELECTION        SYSTEMS     AND                                                                     Case No:
 SOFTWARE, LLC                                                                          60CV-23-


      AMENDED COMPLAINT FOR A DECLARATORY
       JUDGMENT, VIOLATION OF THE ARKANSAS
     DECEPTIVE TRADE PRACTICES ACT, AN ILLEGAL
    EXACTION, FRAUD, MOTION FOR INJUNCTION, AND
                MOTION TO EXPEDITE,
        COMES NOW the plaintiffs, by and through their attorney, Clinton W.

Lancaster, and for their cause of action states:

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convenience of the court.
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                                               OVERVIEW

        1.       That this is an action regarding the use of Election Systems and

Software, LLC, (ESS) voting machines in Arkansas elections.

        2.       That this lawsuit seeks class action status as to Count III (illegal

exaction), Count IV (violation of the Arkansas Deceptive Trade Practices Act), and

Count V (fraud).

        3.       That this lawsuit seeks a declaratory judgment that the voting machines

currently approved by the Secretary of State (Secretary) and the State Board of

Election Commissioners (Board) fail to comply with state and federal law.

        4.       That this lawsuit seeks to remedy an illegal exaction through a class

action lawsuit on behalf of all the taxpayers in Arkansas.

        5.       That this lawsuit seeks a reimbursement to the taxpayers of Arkansas

for illegally spent tax dollars by the Secretary, Board, and ESS.

        6.       That this lawsuit seeks damages and punitive against ESS for its

violation of the Arkansas Deceptive Trade Practices Act.


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      7.      That this lawsuit seeks damages and punitive damages for fraudulent

conduct by ESS.

      8.      That this lawsuit seeks a temporary and permanent injunction to

prevent the use of ESS machines as they are currently configured in future elections.

                                      PARTIES

      9.      That the Arkansas Voter Integrity Initiative (AVII) 1s an Arkansas

corporation in good standing with the State of Arkansas.

      10.     That Conrad Reynolds is a resident of Faulkner County, Arkansas, and

a voter in Arkansas elections.

      11.     That Donnie Scroggins is a resident of Greene County, Arkansas, and a

voter in Arkansas elections.

      12.     That John Thurston is the duly elected Secretary of State.

      13.     That the Board members are duly appointed state officials.

      14.     That ESS is a Delaware limited liability company based in Omaha,

Nebraska, and registered to business in Arkansas. It can be served through its

registered agent, National Registered Agents, Inc., 124 West Capitol Avenue, STE.

1900, Little Rock, AR 72201.

                                        FACTS

      15.     That all previous allegations are incorporated into this count.

      16.     That ESS manufactures the ExpressVote electronic voting device and

the DS200 electronic tabulator. Both devices are either computers or computer

components.


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      17.    That, in Arkansas, all elections in every county are conducted using the

ESS manufactured components and equipment mentioned in this complaint.

      18.    That, in Arkansas, all ESS machines are serviced through a contract

with the State and the counties. See exhibit one, attached.

      19.    That, in its contract with the State and the counties, ESS "warrant[ed] .

 .that at the time of deliver, the ES&S Equipment and ES&S software sold and

licensed ... will comply with all applicable requirements of state election laws." Id at,

      20.    That the ESS equipment consists of multiple hardware and software.

For purposes of this lawsuit, the plaintiffs focus the court's attention to the

ExpressVote and DS200 tabulator.

      21.    That the ExpressVote device is a ballot marking system.

      22.    That, in an Arkansas election, a voter marks his or her ballot using the

ExpressVote device.

      23.    That the DS200 tabulator counts ballots marked by a voter who has used

the Express Vote device to mark his or her ballot.

      24.    That, in Arkansas, voting machines can only be used m a lawful

Arkansas election if the machines are:

             A.     Qualified by an authorized federal agency or national testing and
                    standards laboratory which is acceptable to the Secretary;

             B.     Approved by the Board; and

             C.     Selected by the Secretary.

Ark. Code Ann. § 7-5-504(21)(A-C).



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         25.   That voting machines approved by the Board and selected by the

Secretary for use in elections "shall permit the voter to verify in a private and

independent manner the votes selected by the voter on the ballot before the ballot is

cast." Ark. Code Ann. § 7-5-504(6). Pleading further, this is a requirement of the Help

America Vote Act of 2002 (HAVA) and all voting machines in Arkansas must comply

with the RAVA. 52 U.S.C. § 21081(a)(l)(A)(i). See also Ark. Code Ann.§ 7-5-606(e)

(no marking device or electronic vote tabulating device shall be approved unless it

fulfills the requirements of this section and the federal Help America Vote Act of

2002).

         26.   That, after marking a ballot, the ExpressVote prints the voter's ballot.

         27.   That at the top of the printed ballot is a bar code.

         28.   That below the bar code is the voter's printed selections for candidates

and races.

         29.   That the voter then carries his ballot to and inserts it in the DS200

tabulator to be counted.

         30.   That, however, the voter's printed ballot selections are not the

information read, processed, or tabulated by the DS200 to tally or count votes.

         31.   That, instead, it is the bar code at the top of the ballot that is read by

the DS200 tabulator and the bar code is the information which tallies and counts the

voter's selections.

         32.   That the DS200 does not read the voter's printed ballot selections, only

the bar codes.


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      33.    That most ordinary and common voters cannot read a bar code to

determine if the D8200 has properly processed or recorded the votes cast by the voter.

      34.    That, because the voter cannot read the bar code, and it is the bar code

tabulated by the D8200, the voter is not able "to verify in a private and independent

manner the votes selected by the voter on the ballot before the ballot is cast." See Ark.

Code Ann. § 7-5-504(6).

      COUNT J: DECLATORY JUDGMENT PERTAINING TO STATE LAW

      35.    That all previous allegations are incorporated into this count.

      36.    That, pursuant to Ark. Code Ann. § 16-111-102, this court should

construe Arkansas law, the way the ExpressVote and D8200 function and operate,

and declare the rights, status, and legal relations among the parties.

      37.    That this court should declare that the ExpressVote and D8200 do not

comply with Arkansas law because the voter cannot independently verify the votes

selected by the voter on the ballot prior to being cast by the voter as the ordinary and

common voter cannot read bar codes.

       38.   That this court should enjoin the use of these machines in all future

elections unless and until the machines comply with Arkansas law.

               COUNT IJ: DECLATORY JUDGMENT PERTAINING
                 TO THE HELP AMERICA VOTE ACT OF 2002

       39.   That all previous allegations are incorporated into this count.

       40.   That the HAVA requires that each voting system used in an election for

federal office shall "permit the voter to verify (in a private and independent manner)



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the votes selected by the voter on the ballot before the ballot is cast and counted." 52

U.S.C. § 2108l(a)(l)(A)(i).

       41.    That Arkansas uses the ExpressVote and DS200 for elections for federal

offices.

       42.    That, as explained and pled above, the ExpressVote prints out the

voter's ballot selections in a federal election (both state and federal elections are

combined on the ballot).

       43.    That, while the voter's selections are printed out the bottom of the ballot,

this is not the information read, processed, or tabulated by the DS200.

       44.    That, instead, it is the bar code at the top of the ballot that is read,

processed, and tabulated by the DS200.

       45.    That an ordinary voter cannot read bar code to determine the

information it possesses or contains.

       46.    That, because the voter 1s not able "to verify in a private and

independent manner the votes selected by the voter on the ballot before the ballot is

cast," the ExpressVote and DS200 fail to comply with the HAVA. See 52 U.S.C. §

2108l(a)(l)(A)(i), supra.

       47.    That, pursuant to Ark. Code Ann. § 16-111-102, this court should

construe the HAVA and the manner in which the ExpressVote and DS200 function

and operate and declare the rights, status, and legal relations among the parties.




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      48.    That this court should declare that the ExpressVote and DS200 do not

comply with the federal HAVA because the voter cannot independently verify the

votes selected by the voter on the ballot prior to it being cast by the voter.

      49.    That this court should enjoin the use of these machines in all future

elections unless and until the machines comply with federal law.

                         COUNT HJ: ILLEGAL EXACTION

       50.   That all previous allegations are incorporated into this count.

       51.   That there are two types of illegal exactions, a public funds case in which

the plaintiff contends that public funds generated from tax dollars are being

misapplied or illegally spent, and "illegal-tax" cases, where the plaintiff asserts that

the tax itself is illegal. McGhee v. Arkansas State Bd. of Collection Agencies, 360 Ark.

363, 370-71, 201 S.W.3d 375, 379 (2005) (citing Pledger v. FeatherlitePrecast Corp.,

308 Ark. 124, 823 S.W.2d 852 (1992)).

       52.   That this is a public funds case.

       53.    That the State was authorized by the legislature to purchase and

maintain voting machines pursuant to the County Voting System Grant Fund

(CVSGF). See Ark. Code Ann. § 19-5-1247.

       54.   That the CVSGF permits the Secretary to use public funds collected

from fees or taxes to purchase and maintain voting machines that comply with

Arkansas law. In other words, voting machines that comply with our statutes and

federal law, which are approved by the Board, and selected by the Secretary.




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      55.    That public funds were used by the Secretary to purchase and maintain

voting machines that neither comply with Arkansas law nor HAVA.

      56.    That this is an illegal exaction because public funds generated from tax

dollars are being misapplied or misspent on voting machines and software that do

not comply with Arkansas law or HAVA.

      57.    That ESS has improperly and illegally received misapplied and

misspent public funds from the citizenry of Arkansas for noncompliant and illegal

voting machines and software.

      58.    That the Secretary has improperly and illegally misapplied and

misspent public funds from the citizenry of Arkansas on noncompliant and illegal

voting machines and software.

      59.    That the Board has improperly and illegally misapplied and misspent

public funds from the citizenry of Arkansas on noncompliant and illegal voting

machines and software.

      60.    That all three of these entities should be ordered to repay the taxpayers

of Arkansas for this illegal exaction, including ESS, which should be made to disgorge

illegally exacted funds back to the populace of this State.

      61.    That, because an illegal exaction is a self-executing, constitutional class

action lawsuit, there is no certification of the class required as the class is designated

to be all taxpayers of the State. If the court finds that our law requires certification,

then it should certify all taxpayers as members of the class.




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      62.    That the plaintiffs seek attorney's fees and costs as part of the recovery

in this matter.

                  COUNT rv: VIOLATION OF THE ARKANSAS
                    DECEPTIVE TRADE PRACTICES ACT
      63.    That all previous allegations are incorporated into this count.

      64.    That this count only applies to ESS.

      65.    That Arkansas law prohibits the following deceptive trade practices:

             A.    Knowingly making a false representation as to the
                   characteristics, uses, benefits, approval, or certification of goods
                   or services;

             B.    Advertising the goods or services with the intent not to sell them
                   as advertised;

             C.    The employment of bait-and-switch advertising consisting of acts
                   demonstrating an intent not to sell the advertised product or
                   services;

             D.    Knowingly taking advantage of a consumer who is reasonably
                   unable to protect his or her interest because of ignorance or a
                   similar factor;

             E.    Engaging in any other unconscionable, false, or deceptive act or
                   practice in business, commerce, or trade;

             F.    Knowingly facilitating, assisting, intermediating, or in any way
                   aiding the operation or continuance of an act or practice that is in
                   violation of this chapter;

             G.    The act, use, or employment by a person of any deception, fraud,
                   or false pretense; and/or

             H.    The concealment, suppression, or omission of any material fact
                   with intent that others rely upon the concealment, suppression,
                   or om1ss10n.

      66.    That ESS engaged m deceptive trade practices m violation of the


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Arkansas Deceptive Trade Practices Act when it took the following actions:

            A.     Warranted that its voting machines and software complied with
                   Arkansas and federal law.

            B.     Certified that its voting machines and software complied with
                   Arkansas and federal law.

            C.     Represented that its voting machines and software complied with
                   Arkansas and federal law.

            D.     Represented that its voting machines and software would allow a
                   voter to verify his or her votes before placing it into the DS200 to
                   be cast.

            E.     Sold warranties, services, or goods in the form of machines,
                   software, and maintenance programs under the false pretense
                   that the products complied with state and federal voting laws.

            F.     Sold warranties, services, or goods under the false pretense that
                   the products would enable a voter to verify his or her votes in a
                   private and independent manner before casting his or her ballot;

             G.    Advertising to the state and its voters that ESS's machines
                   complied with state and federal law when it either knew, or
                   should have known, that they did not.

             H.    Knowingly facilitating, assisting, intermediating, and/or
                   otherwise aiding the continuation of the deceptive practice of
                   providing noncompliant and illegal voting machines and software
                   and services for the same.

            I.     Knowingly took advantage of voters in Arkansas by telling those
                   voters that the machines created ballot summary cards that
                   accurately reflected their votes in a manner they could verify
                   before the vote is cast because the voter was ignorant as to how
                   the machines, software, and services functioned.

             J.    Concealed from the voters and the State from the fact, or
                   otherwise deceived them to cause them to believe that its
                   machines, software, programs, and services failed to comply with
                   state and federal law. Pleading further, ESS concealed these
                   facts with the intent for the voter and the state to rely on those
                   facts.
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         67.   That the plaintiffs have suffered an actual financial loss as a result of

their reliance on ESS's deceptive practices including, but not limited to:

               A.    The payment of tax dollars to fund voting and elections conducted
                     with illegal and noncompliant voting machines, software,
                     programs, or other items from ESS;

               B.    The payment of fees for illegal and noncompliant voting
                     machines, software, programs, or other items from ESS;

               C.    The purchase of illegal and noncompliant voting machines,
                     software, programs, or other items from ESS for the use in
                     elections;

               D.    The loss of the ability to legally participate in state, federal, and
                     local elections, which has adversely impacted the ability of voters
                     to participate in the electoral process;

         68.   That ESS should be ordered to pay these damages.

         69. That ESS's conduct is a willful, wanton, and intentional interference
with the right to vote in our State. This court should order that ESS pay punitive
damages.

       70.   That this action involves tax dollars and the illegal use of tax dollars.
Pursuant to Ark. Code. Ann.§ 4-88-113(f)(l)(B), this case should be certified as a class
action on behalf of all voters and taxpayers in the State of Arkansas.

                                   COUNT v: FRAUD

         71.   That all relevant paragraphs of this complaint are incorporated into this

count.

         72.   That this count only applies to ESS.

         73.   That ESS represented to the State and its citizenry that its voting

machines and software complied with Arkansas law and HAVA.




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       74.    That the machines and software complied with Arkansas law and HAVA

is a material fact.

       75.    That ESS made a statement of material fact when it specifically

warranted that its voting machines and software would permit a voter, in a private

and independent manner, to verify his or her votes before his or her ballot selection

card is cast into the DS200.

       76.    That ESS knew, or should have known, that its voting machines and

software were tabulating individual votes based on bar codes printed by the

ExpressVote device that are wholly illegible to the ordinary and reasonable voter.

       77.    That ESS knew, or should have known, that its voting machines and

software did not permit an ordinary and reasonable voter to verify the votes cast by

the voter in a private and independent manner due to ESS equipment's reading of

the bar codes instead of the voter's selections.      In other words, ESS knew its

tabulating devices and software were reading bar codes that were illegible to the

voters while allowing the voter to believe the machine was tabulating his or her ballot

selections printed in the English language on the bottom portion of the ballot

selection card.

       78.    That ESS intended for voters in the State of Arkansas to rely on the

belief, and its misrepresentation of a material fact, that its voting equipment and

software were reading the voter's selections on the ballot summary card that is

verified by the voter before he or she casts his or her ballot into the DS200 tabulator.




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In other words, ESS intended for the State and its voters to rely on its representation

and warranty that its machines complied with Arkansas law and HAVA.

      79.    That voters in the State of Arkansas, including Conrad Reynolds and

DONNIE SCROGGINS, justifiably relied on ESS's representation and warranty that

it machines and software complied with Arkansas law and HAVA.

      80.    That the plaintiffs have been damaged as a result of the fraudulent

actions of ESS. Pleading further, the full amount of damages is unknown at this time

but will be disclosed when ascertained and proven at trial.

      81.    That ESS's fraudulent representation and warranty that its machines

complied with Arkansas law and HAVA were a malicious, willful, and wanton act on

behalf of this defendant. This court should award the plaintiffs punitive damages.

         MOTION FOR TEMPORARY AND PERMANENT INJUNCTION

      82.    That all previous allegations are incorporated into this count.

      83.    That, as set out in this complaint, the ExpressVote and DS200 do not

comply with state law related to elections.

      84.    That, additionally, these voting machines do not comply with HAVA.

      85.    That this court should issue a temporary and permanent injunction

enjoining the use of these machines as they are currently configured.

            DEMAND FOR A JURY TRIAL AND MOTION TO EXPEDITE

      86.    That the plaintiff demands a trial by jury on all issues so triable.

      87.    That this court should expedite this case on its docket to ensure that it

can be heard before the next election.


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      WHEREFORE, the plaintiff prays this honorable court construe the rights of

the parties and how the ExpressVote and DS200 operate and declare that these

machines do not comply with state and federal law; enjoin the use of these machines;

for damages; for a refund of taxpayer fees and dollars; to expedite this case; for

attorney's fees and costs; and for all other just and proper relief.

                                                 Respectfully Submitted,

                                                 LANCASTER & LANCASTER
                                                   LAW FIRM, PLLC
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                                                 p: (501) 776-2224
                                                 F: (501 778-6186
                                                 clin



                                            By: /S/ LINTON W. LANCASTER
                                                Clinton W. Lancaster, 2011179

                              CERTIFICATE OF SERVICE

By my signature above, I certify pursuant to Ark. R. Civ. P. 5(e) that a copy of the
foregoing has been delivered by the below method to the following person or persons:

D   First Class Mail   D    Facsimile   D   Email    [Kl AOC/ECF       D   Hand Delivery

         All attorneys of Record

          on this _PERADMIN. ORDER NO. 21, § 7_DAYofMAY, 2023.




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